Case 3:15-cv-01386-TWR-NLS Document 252 Filed 08/13/21 PageID.8345 Page 1 of 2




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       NEAL N. BROWDER, and CITY OF SAN DIEGO
   7

   8                          UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10 S.R. NEHAD, an individual, K.R.              )   Case No. 15cv1386 TWR (NLS)
     NEHAD, an individual, ESTATE OF              )
  11 FRIDOON RAWSHAN NEHAD,                       )   JOINT STATUS REPORT AND
                                                  )   NOTICE OF SETTLEMENT
  12                Plaintiffs,                   )
                                                  )
  13          v.                                  )
                                                  )   Judge: Todd W. Robinson
  14   SHELLEY ZIMMERMAN, in her                  )   Court Room: 15
       personal and official capacity as Chief of )   Trial: 9/20/2021
  15   Police, NEAL N. BROWDER, an                )
       individual, CITY OF SAN DIEGO, a           )
  16   municipality, and DOES 1 through 10, )
       inclusive,                                 )
  17                                              )
                    Defendants.                   )
  18                                              )
  19          Defendants Shelly Zimmerman and Neal N. Browder, and City of San Diego
  20   (“Defendants”); and Plaintiffs S.R. Nehad, K.R. Nehad and the Estate of Fridoon
  21   Rawshan Nehad (“Plaintiffs”), by and through their respective undersigned counsel
  22   of record, submit this Joint Status Report and Notice of Settlement in compliance
  23   with this Honorable Court’s Order at the Pretrial Conference on August 4, 2021.
  24          Please take notice that subject to San Diego City Council approval in open
  25   session, this case has been settled. The undersigned attorney for the Defendants
  26   represents that the City of San Diego’s approval process has begun. While the
  27   undersigned attorney for the Defendants has no control over the timing of the
  28   approval process, it is currently anticipated that it will be completed by early-October
       Doc. No. 2734027                           1
                                                                              15cv1386 TWR (NLS)
Case 3:15-cv-01386-TWR-NLS Document 252 Filed 08/13/21 PageID.8346 Page 2 of 2




   1   2021 in light of City Council’s summer recess. If the settlement is approved, the
   2   parties currently anticipate that they will be able to submit a joint motion to dismiss
   3   by no later than December 10, 2021.
   4

   5                                        Respectfully Submitted,
   6
       DATED: August 13, 2021               MARA W. ELLIOTT, City Attorney
   7

   8
                                            By:       /s/ James I.H. Brooks
   9
                                                  JAMES I. H. BROOKS
  10                                              Attorneys for Defendants SHELLEY
  11
                                                  ZIMMERMAN, NEAL N. BROWDER,
                                                  and CITY OF SAN DIEGO
  12
       DATED: August 13, 2021               MILLER BARONDESS, LLP
  13

  14
                                            By:       /s/ Daniel S. Miller
  15
                                                  DANIEL S. MILLER
  16                                              Attorneys for Plaintiffs
  17

  18                           SIGNATURE CERTIFICATION

  19          Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative

  20   Policies and Procedures Manual, I hereby certify that the content of this document

  21   is acceptable to Daniel Miller, and that I have obtained Mr. Miller’s authorization to

  22   affix his electronic signature to this document.

  23   DATED: August 13, 2021               MARA W. ELLIOTT, City Attorney

  24

  25                                        By:       /s/ James I.H. Brooks
                                                  JAMES I. H. BROOKS
  26
                                                  Attorneys for Defendants SHELLEY
  27                                              ZIMMERMAN, NEAL N. BROWDER,
                                                  and CITY OF SAN DIEGO
  28

       Doc. No. 2734027                           2
                                                                             15cv1386 TWR (NLS)
